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 5                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA ex rel.        No.    2:13-CV-5013-EFS
     GARY BRUNSON, DONNA BUSCHE, and
 8   WALTER TAMOSAITIS,
                                             ORDER UNSEALING FILINGS
 9                            Plaintiffs,

10               v.

11   BECHTEL NATIONAL INC.; BECHTEL
     CORPORATION; URS CORPORATION; and
12   URS ENERGY & CONSTRUCTION, INC.,

13                            Defendants.

14

15        The Court has analyzed each sealed document in this case to

16   determine whether sealing is justified. Based on that review, the

17   Court finds that a number of documents should be unsealed at this time

18   and directs unsealing as outlined below.

19        “Every court has supervisory power over its own records and

20   files, and access has been denied where court files might have become

21   a vehicle for improper purposes.” Hagestad v. Tragesser, 49 F.3d 1430,

22   1433–34 (9th Cir. 1995) (quoting Nixon v. Warner Commc’ns, Inc., 435

23   U.S. 589, 598 (1978)). There exists, however, a “strong preference”

24   for public access to court documents, and courts are to begin with a

25   presumption that documents in the judicial record should be accessible

26   to the public. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d




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 1   1092, 1097 (9th Cir. 2016). When documents have been placed under seal

 2   based on general justifications, rather than an individual analysis of

 3   each document, it may be appropriate for a court to conduct a review

 4   to   determine    whether   sealing   is   justified        in   each   instance.   See

 5   Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1186 (9th Cir.

 6   2006). “[F]actors relevant to a determination of whether the strong

 7   presumption of access is overcome include the ‘public interest in

 8   understanding     the   judicial   process    and   whether       disclosure   of   the

 9   material could result in improper use of the material.’” Hagestad, 49

10   F.3d at 1434 (quoting EEOC v. Erection Co., 900 F.2d 168, 170 (9th

11   Cir. 1990)).

12         The first class of documents under seal in this case are filings

13   by the Government and corresponding orders by the Court that were

14   entered   prior    to   settlement.   These    filings       primarily    consist    of

15   motions by the Government requesting extensions of time to intervene

16   and orders by the Court addressing these requests.

17         The Court notes that these documents were appropriately sealed

18   when filed due to the application of the False Claims Act sealing

19   requirement. See 31 U.S.C. § 3730(b). This sealing requirement is

20   designed to facilitate Government investigations of qui tam claims

21   under the False Claims Act prior to the Government’s decision to

22   intervene. See United States ex rel. Lujan v. Hughes Aircraft Co., 67

23   F.3d 242, 245 (9th Cir. 1995). After intervention and settlement,

24   however, the False Claims Act itself provides no indication that pre-

25   intervention filings must remain under seal. See generally id.; see

26   also Under Seal v. Under Seal, 326 F.3d 479, 486 (4th Cir. 2003).




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 1   Accordingly,      the   Court    has     weighed        whether       the   contents    of   these

 2   filings continue to warrant sealing.

 3        Weighing all interests, the Court finds that partial unsealing

 4   is appropriate. Accordingly, ECF Nos. 9, 12, 15, 17, 18, 19, 20, 21,

 5   22, 23, 27, 29, 31, and 33 will be unsealed. ECF Nos. 8, 11, 16, 24,

 6   26, 28, 30, and 32 will be unsealed in part, with the memoranda in

 7   support of those filings remaining under seal due to the inclusion of

 8   confidential information.

 9        Second, the Court addresses filings related to attorney fees.

10   Upon review, the Court finds that some of these filings should be

11   unsealed.

12        Counsel for Relators object to the unsealing of some documents

13   related     to     attorney      fees        based     on     unfounded       accusations         and

14   inflammatory language contained therein. The Court finds, however,

15   that accusations and inflammatory language, alone, are an insufficient

16   basis to justify sealing. See Kamakana, 447 F.3d at 1186. Relators’

17   responses to the accusations will also generally be unsealed, and “[a]

18   decent newspaper will not publish . . . accusations without also

19   publishing       the   skepticism       of    [the     accuser’s]       credibility.”        In   re

20   McClatchy Newspapers, Inc., 288 F.3d 369, 374–75 (9th Cir. 2002).

21   Relators have not submitted evidence of specific prejudice or argued

22   other bases to justify sealing.

23        Still,       as    noted    above,       the     Court     recognizes       that   multiple

24   filings made on behalf of Mr. Brunson by his attorney, Mr. Guyer,

25   contain     inflammatory        and    accusatory           language,       primarily   directed

26   towards counsel for Relators. The Court therefore notes that it has




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 1   found       no   basis    to   support   accusations     of   misconduct     made    against

 2   counsel for Relators, and finds that Relators’ responses to these

 3   accusations        will    generally     be   sufficient      to   create    a     clear    and

 4   balanced record. Any media interested in balanced reporting would

 5   publish both. Any reasonable person would understand these allegations

 6   were utterly without merit. The Lambert Firm has conducted itself

 7   ethically in this case.

 8           As such, the Court orders unsealed the documents filed at ECF

 9   Nos. 50, 72, 79, 86, 87, 90, 101, 107, 108, 112, 115, 116, 117, 118,

10   and 120.

11           All      other    sealed    documents    will   remain     under    seal    based   on

12   confidential material contained within those filings, as explained in

13   the Court’s sealed order at ECF No. 135.

14           Accordingly, IT IS HEREBY ORDERED:

15           ECF Number         Unsealing Directive

16           8                  Motion to be unsealed, memorandum will remain under
                                seal
17           9                  Order to be unsealed
18           11                 Motion to be unsealed, memorandum will remain under
19                              seal
             12                 Order to be unsealed
20
             15                 Minute entry to be unsealed
21
             16                 Motion to be unsealed, memorandum will remain under
22                              seal
             17                 Order to be unsealed
23
             18                 Motion to be unsealed
24
             19                 Motion to be unsealed
25
             20                 Supplemental memorandum to be unsealed
26




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 1        21            Order to be unsealed

 2        22            Minute entry to be unsealed

 3        23            Order to be unsealed

 4        24            Motion to be unsealed, memorandum will remain under
                        seal
 5
          25            Order to be unsealed
 6
          26            Motion to be unsealed, memorandum will remain under
 7                      seal
          27            Order to be unsealed
 8
          28            Motion to be unsealed, memorandum will remain under
 9                      seal
          29            Order to be unsealed
10
          30            Motion to be unsealed, memorandum will remain under
11
                        seal
12        31            Order to be unsealed

13        32            Motion to be unsealed, memorandum will remain under
                        seal
14        33            Order to be unsealed

15        50            Order to be unsealed

16        72            Motion to be unsealed, attachment to remain under
                        seal
17        79            Motion to be unsealed
18
          86            Motion to be unsealed
19
          87            Objection to be unsealed
20
          90            Order to be unsealed
21
          101           Motion to be unsealed
22
          107           Order to be unsealed
23
          108           Response to be unsealed
24
          112           Reply to be unsealed
25
          115           Motion to be unsealed
26




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 1           116                  Sur-reply and attachments to be unsealed

 2           117                  Opposition to motion to be unsealed

 3           118                  Order to be unsealed

 4           120                  Sur-sur-reply to be unsealed

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 6           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 7   Order and provide copies to all counsel.

 8           DATED this         26th    day of June 2017.

 9
                                        s/Edward F. Shea
10                                         EDWARD F. SHEA
                                Senior United States District Judge
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